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                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

In re:                                         )
                                               )             Case No. 22-41362
Kobi Gilkey,                                   )             Chapter 13
SSN: XXX-XX-7185                               )             Hearing Date: 08/18/2022
                                               )             Hearing Time: 10:00 a.m.
Debtor                                         )             Hearing Loc: 7 North
                                               )

                          THIRD AMENDED CHAPTER 13 PLAN

 1.1      A limit on the dollar amount of a secured claim, which     ___ Included
          may result in a partial payment or no payment at all       _X_ Not Included
          to the secured creditor.
 1.2      Avoidance of a judicial lien or nonpossessory,             ___ Included
          nonpurchase-money security interest.                       _X_ Not Included
 1.3      Nonstandard provisions set out in Part 5.                  _X_ Included
                                                                     _    Not Included

Part 1.         NOTICES

TO DEBTORS: This form sets out options that may be appropriate in some cases, but the
presence of an option does not indicate that the option is appropriate in your circumstances or that
it is permissible in the Eastern District of Missouri. Plans that do not comply with local rules
and judicial rulings may not be confirmable.

TO CREDITORS: Your rights may be affected by this plan. Your claim may be reduced,
modified, or eliminated. You should read this plan carefully and discuss it with your attorney, if
you have one in this bankruptcy case. If you do not have an attorney, you may wish to consult
one. If you oppose the plan’s treatment, you or your attorney must file an objection to confirmation
in accordance with the Eastern District of Missouri Local Bankruptcy Rule 3015. The Bankruptcy
Court may confirm this plan without further notice if no objection to confirmation is filed. YOU
MUST FILE A TIMELY PROOF OF CLAIM IN ORDER TO PARTICIPATE IN
DISBURSEMENTS PROPOSED IN THE PLAN. CLAIMS SHALL SHARE ONLY IN
FUNDS DISBURSED AFTER THE CHAPTER 13 TRUSTEE RECEIVES THE CLAIM.

Part 2.         PLAN PAYMENTS AND LENGTH OF PLAN

2.1    Plan Payments. Debtor is to make regular payments to the Chapter 13 Trustee as
follows: (complete one of the following payment options)

   (A) $

   (B) $____________ per month for _______ months, then $__________ per month for
       _______ months, then $__________ per month for ________ months.

   (C) A total of $150.00 through July 2022, then payments of $730.00 per month for 58 months
   commencing August 2022.
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2.2     Tax Refunds. Within fourteen days after filing federal and state income tax returns,
Debtor shall provide the Chapter 13 Trustee with a copy of each return required to be filed
during the life of the plan. The Debtor shall send any tax refund received during the pendency
of the Chapter 13 case to the Trustee; however, Debtor may retain a portion of a tax refund to
pay income taxes owed to any taxing authority for the same period as the refund. Debtor may
also retain $1,250 for single filers or $1,500 for joint filers and refundable tax credits consisting
of Earned Income Credit (EIC) and Additional Child Tax Credit, each year.

2.3   Additional Lump Sums. Debtor shall send additional lump sum(s) consisting of
_________, if any, to be paid to the Trustee.


Part 3.          DISBURSEMENTS

Creditors shall be paid in the following order and in the following fashion. Unless stated otherwise,
the Chapter 13 Trustee will make the payments to creditors. All disbursements by the Trustee will
be made pro-rata by class, except per month disbursements described below. However, if there are
funds available after payment of equal monthly payments in paragraph 3.5 and fees in paragraph
3.6, those funds may be distributed again to those same paragraphs until paid in full before
distributing to the next highest paragraphs:

3.1       Trustee. Pay Trustee a percentage fee as allowed by law.

3.2      Executory Contract/Lease Arrearages. Trustee will cure pre-petition arrearage on any
executory contract accepted in paragraphs 3.3(A) or (B) over the following period, estimated as
follows:

  CREDITOR NAME                  TOTAL AMOUNT DUE               CURE PERIOD (6 months or less)




3.3     Pay the following sub-paragraphs concurrently: (Payments to be made by the Trustee
 under this paragraph shall cease when the proof of claim has been paid in full, the Chapter 13
 plan has completed, or the Court so orders.)

  (A) Post-petition real property lease payments. Debtor assumes executory contract for real
  property with the following creditor(s) and proposes to maintain payments (which the Debtor
  shall pay) in accordance with terms of the original contract as follows:

  CREDITOR NAME                  MONTHLY PAYMENT




  (B) Post-petition personal property lease payments. Debtor assumes executory contract for
  personal property with the following creditor(s) and proposes to maintain payments (which the
  Trustee shall pay) in accordance with terms of the original contract as follows:

  CREDITOR NAME                  MONTHLY PAYMENT                EST MONTHS REMAINING




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  (C) Continuing Debt Payments (including post-petition mortgage payments on real estate,
  other than Debtor's residence.) Maintain payments of the following continuing debt(s) in
  accordance with terms of the original contract with any arrearages owed at the time of filing to
  be cured in paragraph 3.5(A). Trustee shall make payments in the amount listed below or as
  adjusted by the creditor under terms of the loan agreement.

  CREDITOR NAME                 MONTHLY PAYMENT



  (D) Post-petition mortgage payments on Debtor's residence. Payments due post-filing on
  debt(s) secured by lien(s) on Debtor(s) residence shall be paid at the monthly amount listed
  below (or as adjusted by creditor under terms of loan agreement) to:

  CREDITOR NAME                 MONTHLY PAYMENT                        BY DEBTOR/TRUSTEE

  (E) DSO Claims in equal installments. Pay pre-petition domestic support obligation arrears
  (not provided for elsewhere in the plan) in full in equal monthly installments over the life of the
  plan, estimated as:

  CREDITOR NAME                         TOTAL AMOUNT DUE               INTEREST RATE


3.4      Attorney Fees. Pay Debtor's attorney $2,100.00 in equal monthly payments over 18
 months (no less than 18 months). Any additional fees allowed by the Court shall be paid pursuant
 to paragraph 3.6 below. [See procedures manual for limitations on use of this paragraph]

3.5      Pay the following sub-paragraphs concurrently:

  (A) Pre-petition arrears on secured claims paid in paragraph 3.3. Pay pre-petition
  arrearage on debts paid under paragraphs 3.3(C) or (D) in equal monthly installments over the
  period set forth below and with the interest rate identified below, estimated as follows. If no
  period is set forth below for a claim to be paid under this paragraph, the claim will be paid over
  the lesser of the plan length or 48 months.

  CREDITOR NAME        TOTAL AMOUNT DUE                CURE PERIOD            INTEREST RATE
                                                       48 months              0


  (B) Secured claims to be paid in full. The following claims shall be paid in full in equal
  monthly payments over the period set forth below with 4.75% interest. If no period is set forth
  below for a claim to be paid under this paragraph, the claim will be paid over the plan length.

  CREDITOR              EST BALANCE DUE                 REPAY PERIOD           TOTAL w/ INTEREST
  Santander             $29,456.39                      60 months              $34,000.00
  (C) Secured claims subject to modification. Pay all other secured claims the fair market value
  of the collateral, as of the date the petition was filed, in equal monthly payments over the period
  set forth below with 4.75% interest and with any balance of the debt to be paid as non-priority
  unsecured debt under paragraph 3.9(A), estimated as set forth below. If no period is set forth
  below for a claim to be paid under this paragraph, the claim will be paid over the plan length.

  CREDITOR              BALANCE DUE         FMV         REPAY PERIOD           TOTAL w/ INTEREST
                                                        60 months
  (D) Co-debtor debt paid in equal monthly installments. The following co-debtor claims(s)
                                                  3
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  to be paid by Trustee or by the co-debtor as noted below. If paid by Trustee, such claim(s) shall
  be paid in equal monthly installments over the period and with interest as identified below:

  CREDITOR      EST BALANCE TRUSTEE/CO-DEBTOR           PERIOD          INTEREST RATE

  (E) Post Petition Fees and Costs. Pay any post-petition fees and costs as identified in a notice
  filed pursuant to Federal Rule of Bankruptcy Procedure 3002.1 as a supplement to an allowed
  claim or any other post-petition fees and costs which the Court allows and orders the Trustee to
  pay. Any such amounts shall be paid in equal monthly payments over the remainder of the plan
  duration and shall not receive interest.

3.6     Additional Attorney Fees. Pay $2,400.00 of Debtor's attorney's fees and any additional
Debtor's attorney's fees allowed by the Court.

3.7     Pay sub-paragraphs concurrently:

  (A) Unsecured Co-debtor Guaranteed Claims. The following unsecured co-debtor
  guaranteed debt to be paid by Trustee or by the co-debtor as noted below. If paid by Trustee,
  pay claim in full with interest rate as identified below:

  CREDITOR NAME        EST TOTAL DUE          TRUSTEE/CO-DEBTOR         INTEREST RATE



  (B) Assigned DSO Claims. Domestic support obligation arrearages assigned to, or recoverable
  by, a governmental unit, will be paid a fixed amount with the balance to be owed by Debtor(s)
  after completion of the Plan, pursuant to §§ 507(a)(1)(B) and 1322(a)(4). Regular payments
  that become due after filing shall be paid directly by Debtor(s):

  CREDITOR             TOTAL DUE              TOTAL AMOUNT PAID BY TRUSTEE


 3.8    Priority Claims. Pay priority claims allowed under § 507 that are not addressed
 elsewhere in the plan in full, estimated as follows:

  CREDITOR NAME                       TOTAL AMOUNT DUE




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 3.9      Pay the following sub-paragraphs concurrently:

  (A) General Unsecured Claims. Pay non-priority, unsecured creditors. Estimated total owed:
  $18,442.00. Amount required to be paid to non-priority unsecured creditors as determined by
  §1325(a)(4) hypothetical Chapter 7 liquidation calculation: $0.00. Amount required to be paid
  to nonpriority unsecured creditors as determined by §1325(b) calculation: $0.00. Debtor
  guarantees a minimum of $0.00 (Dollar amount or 100%) will be paid to non-priority unsecured
  creditors.

  (B) Surrender of Collateral. Debtor proposes to surrender the following collateral to the
  following creditor(s) and requests that the Court grant the creditor(s) relief from the stays under
  sections 11 U.S.C. §§ 362 and 1301. Any deficiency shall be paid as non-priority unsecured
  debt. unless noted otherwise below.

            The Trustee shall stop payment on the creditor's claim until such time as the creditor
             files an amended claim showing the secured and unsecured deficiency (if any) still
             owed after sale of the surrendered collateral. (This paragraph shall not be effective
             unless the box is checked)

  CREDITOR                   COLLATERAL

  (C) Rejected Executory Contracts/Leases. Debtor rejects the following executory contract(s)
  with the following creditor(s). Any balance will be paid as non-priority unsecured debt:

  CREDITOR                   CONTRACT/LEASE


Part 4.          OTHER STANDARD PLAN PROVISIONS

4.1     Absent a specific order of the Court to the contrary, the Chapter 13 Trustee, rather than
the Debtor, will make all pre-confirmation disbursements pursuant to § 1326(a).

4.2       All creditors entitled to pre-confirmation disbursements, including lease creditors, must
file a proof of claim to be entitled to receive payments from the Chapter 13 Trustee.

4.3     The proof of claim shall control the valuation of collateral and any valuation stated in the
plan shall not be binding on the creditor.

4.4      The Trustee, in the Trustee’s sole discretion, may determine to reserve funds for payment
to any creditor secured by a mortgage on real estate pending filing of a claim.

4.5       Any post-petition claims filed and allowed under § 1305 may be paid through the plan.

4.6     Debtor is not to incur further credit or debt without the consent of the Court unless
necessary for the protection of life, health or property and consent cannot be obtained readily.

4.7     All secured creditors shall retain the liens securing their claims until the earlier of the
payment of the underlying debt determined under non-bankruptcy law or discharge under
 § 1328. However, Debtor will request avoidance of non-purchase money liens secured by
consumer goods as well as judicial liens which impair exemptions and said creditors will not

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retain their liens if the court enters an order granting Debtor's request to avoid the liens.

4.8       Title to Debtor's property shall re-vest in Debtor(s) upon confirmation.

Part 5.          NONSTANDARD PLAN PROVISIONS

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard
provision is a provision not otherwise included in the Official Form or Local Form or deviating
from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in the box “included” in
Part 1 of this Plan:

5.1 Debtor shall report any settlement or liquidation of pending claim to the Chapter 13 Trustee
and his liquidation guarantee may be revisited at that time.


5.2



Part 6.         CERTIFICATION

The debtor(s) and debtor(s) attorney, if any, certifies that the wording and order of the
provisions in this Plan are identical to those contained in Official Local Form 13 of the Eastern
District of Missouri, other than any Nonstandard Plan Provisions in Part 5.

Date: 07/18/2022        Debtor: /s/Kobi Gilkey

Date: 07/18/2022         /s/Robert E. Faerber
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